Case: 2:21-cv-00072-DLB-CJS Doc #: 51-1 Filed: 11/17/23 Page: 1 of 1 - Page ID#: 402




                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                           EASTERN DIVISION AT COVINGTON
                             CASE NO. 2:21-CV-00072-DLB-CJS

  JEFFREY CUNDIFF                                      )                        PLAINTIFF
                                                       )
                                                       )
  V.                                                   )
                                                       )
  DOUGLAS ULLRICH, et al.,                             )                    DEFENDANTS


                                     PROPOSED ORDER



        Upon Motion of Plaintiff, Jeffrey Cundiff and the Court being sufficiently advised and

 informed, IT IS HEREBY ORDERED that Plaintiff’s Motion in Limine (Doc. 51) be and is

 GRANTED and Defendant is: precluded from introducing evidence on Plaintiff’s prior or

 subsequent convictions, incarceration, or bad acts.

        SO ORDERED THIS ___ DAY OF _______________, 2023.



                                              JUDGE UNITED STATES DISTRICT COURT

 Copies to Counsel
